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                  IN THE UNITED STATES DISTRICT COURT

              FOR THE WESTERN DISTRICT OF WISCONSIN
____________________________________


UNITED STATES OF AMERICA,

                        Petitioner,
                                                             ORDER
     v.
                                                       06-cr-141-jcs-02

LISA MARIE HARDING,

                    Respondent.
____________________________________

     Petitioner asks the Court to reduce her sentence by one year

after her complection in the Residential Drug Abuse Program.              She

alleges that the Bureau of Prisons is refusing her this reduction.

Petitioner’s proper remedy is a petition for a writ of habeas

corpus    under   28   U.S.C.   §2241   after    she   has   exhausted    her

administrative remedies. Petitioner’s motion to amend her sentence

will be denied.

                                   ORDER

     IT IS ORDERED that petitioner’s motion to amend her sentence

is DENIED.

     Entered this 28th day of January, 2008.

                                   BY THE COURT:

                                           /s/

                                   ________________________
                                   JOHN C. SHABAZ
                                   District Judge
